                    Case: 1:17-cv-01230 Document #: 3 Filed: 02/28/17 Page 1 of 14 PageID #:3

ProrSe 15 (Rev. 1716) Complaint fon Violation of     Civil Rights Q.Ion-Prisoner)
                                                                                                                                                                c&
                                          UMTSD STATES DISTRICT CoURT                                                          REC E IVE D
                                                                                    for the
                                                                                                                                            FEB282ol7P
                                                                   Northern District of Illinois
                                                                                                                                     THOMAS G, BRUTON
                                                                                                                               CLERK. U,S. DISTRICT COURT
                                                                          Eastern Division



                                                                                              Case No.         1:17-cv-01230
                                                                                                              (to   be   filled in   by the Clerk's   Ofice)
                          Frank L. Simmons
                                Plaintiffis)
(Write the full name of each plaintiffwho      is   fling   this complaint.
If           of all the plaintilfs cannotfit in the space above,
     the names                                                                                Jury   Trial: (checkone)        X Yes n             No
please write "see attached" in the space otdattach an additional
poge with the full list of names.)
                                    -Y-

       Illinois Bell Telephone Company alVa\ Nt&T                                             17CV1230
                     Randall L. Stephenson                                                    Judge Samuel Der-Yeghiayan
                          Ann Brton                                                           Magistrate Judge Mason
                            Randy Renschen
                              Mara Wasar
                            Bobbi Mueller
                          Michele M. Pitnan
                               Defendan(s)
(Write   the{ull name of each defendantwho is being sued. If the
names    ofall the defendants cannotfrt in the spoce above, pleose
write   "see    attached" in the spoce and attach an additional page
with   the   full list ofnames. Do not include addresses here.)




                                    COMPLAINT FOR VIOLATION OF CIVI RIGHTS
                                                                (Non-Prisoner Complaint)




                                                                                                                                                          Page 1 of 14
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ProBe 15 @ev. 12116) Complaint for Violation of Civil Rights Q.Ion-Prisoner)




                                                                         NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: ar individual's firll social
    security number or full birth date; the full nmre of a person known to be a minor; or a complete financial account
    number. A liling may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this forrn, plaintiffneed not send extribits, affidavits, grievance or witness staternents, or any
    other materials to the Clerk's Office with this complaint.

    ln order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




           The Parties to This Complaint

          A.         The Plaintitr(s)


                     Provide the information below for each plaintiffnamed in the complaint. Attach additionat pages           if
                     needed.
                           Name                                         Frank L. Simmons
                           Address                                      2520W. Haddon Steet

                                                                        Chicago                             IL
                                                                                        Citv            ---Sate     Zip Code
                           County                                       Cook
                           Telephone Number                             3129t9-9320
                           E-Mail Address                               frank.   33   32@hotnail. com

          B.         The Defendan(s)

                     Provide the inforrnation below for each defendant namsd in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capaclty, or both. Attach additional pages if needed.



                     Defendant No.        I
                           Name                                         Illinois Bell Telephone Company alWa AT&T
                           Job or Title (if known)                      Corporation
                           Address                                      311 S. Akard St.; Room 752
                                                                        Dallas                             TX       75202
                                                                                        Citv               Stote    Zip Code




                                                                                                                          Page2of   14
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Pro'Se 15 @ev. 12116) Complaint for Violation of Civil Rights (Non-Prisoner)


                           County                                       Dallas
                           Telephone Number                             214 757-5602
                           E-Mail Address (if known)

                                                                        f]     IndiviAual capaciry     X   Official capacity


                     Defendant No. 2
                           Name                                         Rardall L. Stephenson
                           Job or Title (ifknown)                       Chief Executive Officer AT&T Inc.
                           Address                                      311 S. Akard St.; Room 752
                                                                        Dallas                              TX                  75202
                                                                                      citv                  State              Zip Code
                           County                                       Dallas
                           Telephone Number                             2147s7-s648
                           E-Mail Address (if lorcwn)

                                                                        X      Individual capacity     X   Official capaclty


                     Defendant No. 3
                           Name                                         Ann Barton
                           Job or Title (if l*town)                     AT&T Court Order Unit Representative
                           Address                                      909 Chestnut
                                                                        St. Louis                           MO                 63101
                                                                                                                               Zip Code
                                                                                                         -State
                           County                                       St. Louis
                           Telephone Number                             888722-1787
                           E-Mail Address (if known)

                                                                        X      Individual capacity     X   Oflicial capacity


                     Defendant No. 4
                           Name                                        Randy Renschen
                           Job or Title (iflorcwn)                     AT&T Area Manager         -   Design Engineering
                           Address                                     225 W.Randolph        Steet; I 18
                                                                       Chicago                              IL                 60602
                                                                                      Citv              --Siate                Zip Code
                           County                                      Cook
                           Telephone Number                            312 977-621s
                           E-Mail Address (if lcnown)                  n1676@att.com

                                                                       X       Individual capacity     X Official capacitv



                                                                                                                                    Page 3   of   14
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    Defendant No. 5
        Name                         Mara Wasar
        Job or Title   (iflouwn)     AT&T Asset Protection Senior Investigator
        Address                      225W. Randolph Steet
                                     Chicago                          II-
                                                                   ---State-W            60602

        County                       Cook
        Telephone     Number         312 727-9411
        E-Mail Address (if known)

                                     X Individual capacity X         Official capacity


    Defendant No. 6
        Name                         Bobbi Mueller
        Job or Ti$e    (iflCItown)   Director   - AT&T    Design Engineering Midwest
       Address                       225W. Randolph Sneet
                                     Chicaeo                           II-               6A602

       County                        Cook
       Telephone Number              312727-9411
       E-Mail Address (ifknown)      fun2363@Xt.com

                                     X   Individual   capacity X Official capacity


   Defendant No. 7
       Name                          Michele M. Pitnan
       Job or Title    1fknown)      Associate Judge - Illinois Cook Counry Circuit Courts Markham
       Address                       16501 S. Kedzie Parkway
                                     Markham                          IL                 60428
                                                  City               Siate --------npe;A
       County                        Cook
       Tolephone    Number           708822-3592
       E-Mail Address    (ifloown)   Michoitman@sFcqlobal'net


                                     X   Individual   capacity X Official capacity




                                                                                           Page 4   of   14
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Pro Se   l5 (Rev.   12116) Complaint for Violation of   Civil Rights (Non-Prisoner)


II.         Basis for Jurisdiction

            Under 42 U.S.C. $ 1983, you may sue state or local officials for the "deprivation of any right*, privileges, or
            immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown NamedAgents of
            Federal Bureau of Narcotics, 40i U.S. 388 (1971),you may sue federal officials for the violation of certain
            constitutionat rights.

            A.           Are you bringing suit against              (check   all that apply);

                          f]    federatofficials (aBivens claim)
                          X     State or local officials (a $ 1983 claim)


                         Section 1983 allows claims allegng the "deprivation of any rights, privileges, or immunities secured by
                         the Constitution and [federal lawsJ." 42 U.S.C. $ 1983. If you are suing under section 1983, what
                         federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                         9-43.000 - Mail Fraud And Wire Fraud; Employee Retirement Income Security Act of 1974 (ERISA);
                         Criminal Conspiraoy; Defamation of Character Libel & Slander ;Title 18, U.S.C., Section 245 -
                         Federally Protected Activities ;Title 18, U.S.C., Section 241 - Conspiracy Against Rights; Title 42,
                         U.S.C., Section 3631 - Criminal lnterference with Right to Fair Housing; Title 42, U.S.C., Section
                         14141, - Pattern and Practice


                         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                         are suing vtder Bivens, what constitutional right(9 do you claim iVare being violated by federal
                         officials?
                         NA



                         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                         statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                         42 U.S.C. $ 1983. If you are suing under section 1983, explain how each defendant acted under color
                         of state or local law. Ifyou are suing under Biverr, explain how each defendant acted under color of
                         federal law. Attach additional pages if needed.
                               1)   Plaintiff s abusive fomrer wife, Illinois Cook County Circuit Court Associate Judge, Michele
                                    Pitnan, used the power of her office to defraud the Plaintiffof his pensiorl salary, and
                                    Intellectual Property with fictitious Court Orders (COs) and Illinois Wage Deduction Orders
                                    (IWOs) with co-conspirators: Ann Barton of AT&T's Court Order Uni[ Randall L.
                                    Stephenson; Randy Renschen; Mara Wasar; and Bobbi Mueller.

                               2) Randy Renschen and Mara Wasm, in an effort to inflict firttrer financial hmdship and
                                  Defarnation of Character, in three sepamte instances, falsely told the Illinois Deprtrnent of
                                  Employment Security that I was fred for unauthorized use of a company credit card and failure
                                  to retum to work (see: Exhibit C.5). Thus, denying the Plaintiffunemployment benefits and
                                  making him a ward ofthe State (see: Exhibit C.6).




                                                                                                                           Page 5   of   14
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Pro Se 15 @ev. 12116) Complaint for Violation of Civil Rights (Non-Prisoner)




m.       Statement of Clnim

         State as briefly as possible the facts ofyour case. Describe how each defendant was personally involved in the
         alleged wrongfirl action, along with the dates and locations of all relevant events. You may wish to include
         firther details such as the narnes of other persons involved in the events grving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted mrmber each claim and write a short and plain
         statexnent of each claim in a separate paragraph. Attach additional pages        if   needed.



         A.          Where did the events         gling    rise to your claim(s) occur?
                     AT&T Midwest Headquarters,225 W. Randolph Street, Chicago, IL.60602




         B.          What date md approximate time did the events gr"ing rise to yoru claim(s) occur?
                     June 2016




         C.          What are the facts underlying your claim(s)? @or example: What happened to you? Who didwhat?
                     Was anyone else involved? Who else saw what happened?)




                                                                                                                   Page 6   of   14
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      L On August 306, and Septernber gth,201,6 the Plaintiffformally filed complaints of
         discrimination with the EEOC and Illinois Deparftnent of Human Rights (IDHR) respectively,
         Case# 17W0907.09 / Charge# 2017CF0470 based upon race (see: !f 4). IDHR and AT&T
         Asset Protection records note that the Plaintiffhad not been paid properly by AT&T since May
         2016 for an estimated total of over $30,000.00+ dollars owed the Plaintiffby ernployer, AT&T
         (see Exhibits A & C.l respectively). In Addition, IDHR and DOL (Exhibit B) records note
         that the Plaintiffwas employed by AT&T up until he formally notified AT&T Executives of
         his IDHR and DOL filings or 9/22116 (Exhibit D) and was fired as a result on 9/28116, prior to
         the IDHR Mediation Hearing (Exhibit C.2). IDHR considered this an act of "Wrongful
         Termination'; which prompted IDHR to immediately file a formal complaint of "Retaliation"
         against AT&T on behalf ofthe Plaintiff on 101712017 (Exhibit A.f). AT&T's 11/18/16 forrnal
         resporse (Exhibit C.3) to Plaintiff/IDHR's Allegations Inquiry (see: ![ 4) stated that they could
         neither confirm nor deny Ann Barton (see: ![7&8) was stealing monoy from the Plaintiff.
         Thus, reinforcing the Plaintiffs civil complaint. In addition, AT&T formally denies
         allegations in paragraphs 4.2 -3; but yet supported in Plaintiff s Exhibits.

         It is believed that the unreasonable stance AT&T has taken against the Plaintiff, may if fact be
          an attempt to conceal the much larger crime of Mail & Wire Fraud and not just Civil Rights
          Violations in paragraph 4. Allegations of Mail & Wire Fraud were raised in my March 3'!
          2015 request for a Special Prosecutor in 46-page Criminal Motion #09600723501 (Exhibit I(1
          & I(.2) naming AT&T and is before the Honorable Judge Connelly - Bridgeview, Cook
          County Circuit Courttrouse whom considered the allegations raised within, serious and desired
          a formal response. Moreover, the Plaintifffiled a Mail & Wire Fraud Complaint
          (C#1801951) with U.S. Postal Inspector on September 6b,2016 (Exhibit E). The Plaintiff
          alleges that AT&T Court Order Unit Represe,ntative, Ann Barton - conspired with the
          PlaintifPs former wife, Illinois Cook County Circuit Court Associate Judge, Michele Pitnan,
          together and with others, abusively used the power of their offices to defraud the Plaintiffof his
          salary (see: !f 7) and Intellectual Property (see: ![ 15). The conspirators primary methods to
          commit fraud was through the use of fictitious Court Orders (COs) and Illinois Wage
          Deduction Orders (IWOs) (see: !f 8) (see: Exhibits F.l & F.2 respectively). The most recent
          acts of fraud occurred between May through July of 2016. The State of lllinois Judicial
          Inquiry Board rece,ntly concluded ther 2-year investigation into the Plaintiff s formal 2015
          complaint (Exhibit G) of Associate Judge, Michele Pitnan and other Judges alleging criminal
          Conspiracy. The Plaintiffwill be asking this Honorable to issue a subpoena of their findings.

      J. The Plaintiff, pro se petitioned the Cook County Circuit Courts on May   2ls, 2015 for a
         reduction in Child Support; which is finally granted almost l-year later by the Hon. Judge
         Mary Trew via her January 29.fr 2016 CO (see: Exhibit J.1), citing extrerne finaacial hardship
         and health concems. The CO then was submiued to AT&T Court Order Unit. In February
         2016, concerning the same matter and at the request of AT&T's Court Order Unit, the Plaintiff
         again pro se petitioned the Circuit Courts to have the 1129/16 CO written in the form of an
         IWO in order to be implemented by AT&T(see: Exhibit J.2). The IWO was granted by Judge
         Mary Trew on March 25n,2016 (see: Exhibit J.3) reflected on the Plaintiffs April 2016
         payroll from $2,500/month to $223.46/month (see: Exhibit J.4).


      4. A.   Issue/Basis:

         Unequal terrns and conditions of employment     -   June 2016, because of my racq African
         American / black.

         B. Prima Facie Allegations:

          1.   Myrace is African American


                                                                                                  PageTof   14
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            2.   (1) I began my ernployment with Defendant, Illinois Bell Company a/k/a AT&T on
                 October 14d', 1996. (2) My work performance as a Design Engineer in AT&T's
                 Construction and Engineering Deparrnent exceeds AT&T's legitimate expectations (see tf
                 14).

            3.   (1) Since June 2016, I have been subjected to unequal temrs and conditions of enrployment
                 in AT&T's workplace in that: Ann Barton (race unknown), of AT&T's Court OrderUnit,
                 is deducting money from my payroll without my knowledge. (2) Raody Renschen (non-
                 black), hnmediate Supervisor, is grving non-black engineer's credit for projects that I
                 completed (see: Exhibit C.4). (3) Randy Renschen told me that I had to complete 8-ASE
                 projects per month, with 907o accuracy, without any overtime (see: f,xhibit C.5). My
                 easier cookie-cutter projects were being givsn to non-black engineers to help them reach
                 their project quota (see: Exhibit C.6) and I have recently been accused ofusing AT&T's
                 Corporate Credit Card for Personal use (see: Exhibit C.1).

            4.   Similarly situated employees, Jamie Pierce and John Gerwig, both (non-black) Engineers,
                 were not subjected to these same terms and conditions of employment.

       5. In support of 3.1: ln May 2016,  the Plaintiffinformed his immediate supervisor Randy
            Renschen that his paycheck was short money owned. missing

       6. (1) On July 211 AT&T's Payroll Deparftnent informed Randy Renschen and mysel{ that an
            unauthorized employee (Ann Barton) having unauthorized access to the company's payroll
            qystern, ELINK, was removing my hours worked from the payroll system and that the matter
            needed to be reported to AT&T Asset Protection if he (Randy Renschen did not authorize the
            changes. (2) Thus, my month pay was reduced to approximately $500.00 per month.

      7.   Ms. Barton has exclusively handled my court ordered child support payroll wage deductions.
           It is believed that Ann Barton has been skimming money from my payroll checks for over 7
           years. Ms. Barton's illegal activity is reflected in my attached pay stubs (see: Exhibit Hf. (l| On
           my pay stubs, notice on the upper left, the Gross lncome for the pay period is itemized on the
           upper right-side as Regular and Overtime Hours Worked, as if I am getting paid that total
           amount. However, immediately beneath those positive totals, one will see those hours and
           dollars for Regular and Overtime Hours Worked being removed. Therefore, the Gross lncome
           is illegally being reported as Taxable lncome; bu! I never received the money. (2| ln addition,
           Ms. Barton's also has been making illegally payroll deductions as 'Wage Deduction Fee'. (3)
           Despite weeks and months of informing Randy Renschen in-person and via tons of emails
           (see: Exhibit C.7l on the financial hardship this was causing; Mr. Renschen continued to
           ignore me the matter; which is a major violation of AT&T's Business Code of Conduct Policy
           (see: Exhibit C.8). Whether or not Randy is involved in Ms. Barton's payroll skimming scheme
           cannot be determined without investigation and if Ms. Barton has been skimming other
           employee's
           payroll checks is also yet to be determined.

      8.   On the afternoon of July 24th, (l) I personally caught and identified (from her Company User
            ID) the unauthorized employee to be Ms. Ann Barton - AT&T Court Order Unit. I "screen-
           printed" her from my computer, in my personal ELINK Accoun! in the "real-time" act of
           removing my payroll hours from projects I worked. (see: Exhibit H.2) (2) Now, finally I had a
           name; since, it is AT&T's policy that representatives of the Court Order Unit remain
           anonymous. There appears to be only two people working within this deparbnent. (3) I then
           emailed Ms. Ann Barton, requesting that she provide me a copy of the current Illinois Wage
           Deduction / Court Orders GWO) from Michele Pitnan (see: Exhibit H.31. The Circuit Courts
           in Mmch of 2016 reduced my wage deduction to per month. (4) However, Ann Barton was


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          making monthly wage deductions of approximately $2,300.00 dollars per month after AT&T
          honored the$223.46 for just the month of April 2016 only. (5) Ann Barton refused to provide
          me a copy of the court order as she has done for the past 7-years now (see: Exhibit H.4), telling
          me the following: "Your name is in the order so I can't see why you do not have a copy. You
          need to get your copy from the Courts." (6) When I go to t]re courts to request the order, the
          clerk has no record of the court order; because, the order never existed in the court's system.
          Hence, the dilsmma has no rernedy. (7) I called into the AT&T HR Help-Desk and received a
           callback from the Other AT&T Court Order Rep (OACOR). She initial could not find an order
          but was able to find it after I advised her to check variations of the Court's Docket Number:
          09 D il97. (8) Ann Barton used variations of the court's docket number to hide info from
          others. (9) Moreover, the OACOR stated that it is illegal for AT&T not to provide copies of
          wage deduction court orders to an employee. OACOR also stated that wage deduction order
          against my payroll. (10) OACOR stated that if what I had stated were in fact true, it would be
          a mega lawsuit. (11) I received a copy of the fictitious Court Order and the IWO, 10 minutes
          later in email via AT&T's secure encrypted nerwor\ Voltage. (12) The OACOR called back
          and stated "It was incumbent upon me to research and prove the orders to be fictitious." *If I
          believed the Court Orders to be false, I needed to file a complaint of Mail & Wire Fraud as
          soon as possible." (13) I showed Randy Renschen the copies of the fictitious court orders and
          advised him of what the OACOR stated that I needed to do the research and this possibly being
          a mega lawsuit. Randy then stated tha! "She should not have told me that." (14) I advised
          Randy Renschen, as per the AT&T Court Order Uoit (ACOU), I would need to take leave from
          work to research the matter. Since I was not been paid, (AT&T owed me over $30,000 dollars
          in back pay for the months of April through July) I also informed him that I might need to use
          the AT&T Credit Cmd in order to suryive.

      9. (1) In early August I visited the Cook County Circuit Courts     and presented Judge Trew and her
          Clerk with the fictitious court orders and advised that neither were in court on the day stamped.
          (2) I formally filed complaints with Federal EEOC, U.S. Deparrnent of Labor (DOL).
          Approximately one month later, the Federal EEOC and DOL requested that I should first file
          formal complaints with their counterparts at the State level before getting them involved. (3)
          The State of Illinois EEOC Complaint was filed on9l9ll6;whom after reviewing complaint
          advised that I file a with the State of Illinois Deparhnent of Labor (IDOL) Complaint ASAP;
          which was filed on. (4) I formally filed a Mail & Wire Fraud Complaint on9/6/L6 with the
          U.S. Postal lnspector Fraud Complaint Reference Number, C#1801951. (5) With my savings
          depleted over the past 4 months, I had no mon€y for an attorney; since AT&T has not paid me.


      10.(1) On the morning of August zz"d,lemailed my director Bobbi Mueller to find out if there had
          been resolution to my payroll concerns of back pay and that a meeting needed to be scheduled
          with AT&T Asset Protection concerning my back pay and the Ann Barton mail and wire fraud.
          (2) Bobbi acted for some reason that she was very unaware of my on-going payroll problerns
          and refused to get involved even after receiving my emails. (3) Despite weeks and months of
          inforytng Randy Renschen, in-person and via email of the financial hardship this was causing;
          Randy Renschen and Bobbi Mueller continued to ignore the matter. This is a major violation
          of AT&T's Business Code of Conduct Policy (see Exhibit C.S); whictu states "that supervisors
          must ensure that ernployees be paid timely and in-full for hours worked." (a) I then forwarded
          copies ofmy emails to Randy Renschen, Bobbi Mueller, and Ann Barton, including my screen
          print of Ann Barton to Dean Yeager - Director of AT&T Asset Protection. (5) As a result, I
          used the Company Credit Card in August 2016, accumulating approximately $1,100 in
          personal expenses. This is a violation ofAT&T's Business Code of Conduct Policy (see
          Exhibit C.8). Randy Renschen, who would not report my $30,000.00 in unpaid wages from
          May to July of 2016, was quick to report my personal use of the company's credit card to
          AT&T Asset Protection.



                                                                                                 Page9of   14
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          11. On the  moming of August 23d, Randy Renschen and I met with Mara Wasar - Senior
              lnvestigator, AT&T Asset Protection. Mara Wasar informed Randy Renschen and I that
              AT&T CEO, Randall L. Stephenson and the AT&T Board of Directors would be rendering a
              decision and were aware of the following:

              (1) my payroll problems
              (2) allegations of Ann Barton's fraud;
              (3) My 2009 AT&T Company email to Mara Wasar warning AT&T Asset Protection of my
              former wife, Associate Judge, Michele M. Pitnan's MaiI & lYire fraudulent activities (see:
              Exhibit I(2).
              (4) That my illegally confiscate my personal AT&T Email Account contained proprietary and
              intellectual property for which I am liable.
              (5) An4 my March 3"d 2015,46-page Criminal Motion #09600723501, naming AT&T,
              requesting the appointnent of a Special Prosecutor and Appellant Defender, before the
              Honorable Judge Connelly - Bridgeview, Cook County Circuit Courthouse (see: Exhibit         lil).
              (6) Judge Connelly advised the court that the allegations made within, were serious and had
              merit. Judge Connelly recommended that (alleged co-conspirator) fomrer Cook County State's
              Attorney, Anita Alvarez, prepare a writte,n response.
              (7) The circuit court criminal motion naming AT&T in 2015 alleges Michele M. Pitnan was
              conspiring with someone within AT&T's Court Order Unit to process fictitious Illinois Wage
              Deduction Court Orders (MO).
              (8) The conspirators had been making unreasonable high fraudulent wage deductions against
              my payroll for the past 7-years with no legal remedy.

          12. (1) On the afternoon of August 23'd,I formally filed a complaint against Ann Barton at the
              request of Dean Yeager - Director of AT&T Asset Protection via the Asset Protection ln-Take
              Compliant-line. (2) I spoke with Yolanda of the Asset Protection Intake Desk. (3) Yolanda
              confirmed that it was against 'AT&T Code of Conduct Policy' and illegal for Ann Barton to
              have access to my ELINK Payroll Account. Moreover, she said AT&T Asset Protection would
              be investigating Ann Barton and her connection to AT&T Payroll, AT&T Court Order Unit,
              and the Illinois Cook County Circuit Courts and advised mg while away from worlg to hire
              legal counsel and prepare my evidence and documentation for a sit-down with AT&T Legal
              within a week discuss remedy. (3) I infonned Randy Rsnschen of Asset Protection's
              (Yolanda's) recommendation of which Randy Renschen was in agreed.




    13.   AT&T BACKGROUND
            I arn expert in structural design, layout and EF&I of communications hubs and data centers; in
          addition to, communications Outside Plant (OSP) infrastructure build-out and design to and from
          remotes; including, but not limited to, expert in transport carrier equipment engineering and design
          of DWDM and CWDM, ROADM, SONET; IP-Cloud Networks of both Cisco and Juniper and
          typography to the router/switch. My accomplishments at AT&T have been novel and legendary.
          AT&T Senior Executives, Cathy Coughlin have used my ideas in national marketing campaigns
          and my yearly accomplishments which generated tens of Millions of dollars in revenue received
          high accolades and were touted nationally as best practice standards by AT&T Executives to
          employees three years in arow. Despite this, racial discrimination was never fm from my side at
          AT&T. As an Engineering Mmager, I was saddled with the largest workload than any engineer in
          the country, docked vacation, skipped over for bonuses, raises, and promotions consistently (see
          Exhibit D)




                                                                                                    Page l0   of   14
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    14. AT&T ENGINEERING AGCOMPLISHMENTS (some not all):

              - Received AT&T Vice President Recognition 2016 - Designed, engineered, and closed the
              historical Mononock Building Account, the largest all brick building to survive the Great Chicago
              Fire for the largest lP-Circuit deal for AT&T in the United States for one central location.

              - Received AT&T Vice President Recognition 2015 - Designed, engineered, and closed the
              General Growth Properties (GGP) Account, one the largest National lP-Circuit deals for AT&T
              in the United States.

              Received AT&T Vice President Team Award 2011 - successfully coordinated, designed,
              and re-engineered the Reavis High School E-911 Service Disaster

              - Proiect Received AT&T Vice President Team Award 2011 - successfully coordinated,
              designed, and re-engineered the entire Cicero CEV Flooding Disaster

              - Received AT&T Vice President Team Award 2010 - successfully engineered Chicago
                Public Schools Ethernet Project

              - Received Emie Garey, SVP Recognition Letter 2010 - successfully coordinated and
              engineered Chrysle/s Ethernet Services into the Microsoft Data Center

              - Received Emie Carey, SVP Recognition Letter 2009 - successfully coordinated and
               engineered various Cricket Communication Gellular Nodes throughout the Chicagoland
              SMSA

             -2A12 NATO Conference in Chicago Received Accommodation - for the successfully the
              coordination, engineering, installation, and deployment of transport equipment nodes for all
              various facilities throughout the Chicagoland SMSA, which included meeting with and
              coordinating with White House, City of Chicago, and Suburban City Staff Members for the
              installation, deployment, and tum-up of DWDM ROADM, Ethernet, Wireless, and SONET
              transport equipment installation within a short window.

     15. Perconal and Entreprenurial Accolades As a Research and Development Scientist
            Prior to, During, and afterAT&T (some not all)

            Nano-Technology Deposition Techniques Worked: lon Assisted Deposition (lAD),
            Reactive lon Plating (RlP), Magnetron Sputtering (MS), Cathodic Arc Deposition (Cath.Arc),
            PhysicalVapor Deposition (PVD), Electro-Chemical Deposition (Electro-Chem), ChemicalVapor
            Deposition (CVD) including Plasma Activated, Electron Beam PhysicalVapor Deposition
            (EBPVD) including DirectionalVapor Deposition (DVD), and Evaporative Deposition technologies

        Chip Prototyping & Fabrication Design:.TTL, *CMOS $IMOS

            !P: *TCP/IP *Ethernet VLAN *Switches *Bridges *Routing Protocols IA/AN

     US Patents: Co-Developed patents and Applications for Nano Technology applications in areas of
     Light Transmission & lnterference Filters, Surface Modification and Power Generation by Fuel
     Gell

     Co-Authored : Research papers Published by the European Union Global Congress Dedicated to
     REACTIVE NANO LAYERS



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no   Se tS @ev. 12116) Complaint fon Violation of   Civil Rights (Non-Prisoner)


                        Personal Technologies Published by Other Authors: (but not limited fo) - Nano Technology
                        New Weapons for New Warc - by Dr. Daniel Ratner;




w.        Injuries

          If you sustained injuries related to the ev€nts alleged above, describe your injuries and state what medical
          teatneNrt, if my, you required and did or didnot receive.
           I Stolen all my Marital and Personal Assets; Intellectual Property
           2 sutrered pulmonary enrbolisms and pancreatitis; life long cronic illinesses
           3 Homeless for the past 7-years
           4 My 2-neices (minor dependents) and I have been evicted S-times
           5 Have not seem my 3-children since they were minors (8-years) for fear of firther abuse by my unrestrained
           abusive ex-wife Michele Pitnan and her co-conspirators in the Cook County Justice System.
           6 Could gtve a home to my be-loved father whom died in a nursing home 600 miles away from Chicago. A mm
           who work 3-jobs, put himsslf through college including myself
           7 I was not even told of father's funeral
           8 They have made me a vagabond

          I cannot write anymore.....in tears! What these conspirators have underestimated, when one has taken
          all from a righteous man, all that is left, is that man and his will to right the injustices heaped upon him.
          I am my Father's son; for these injustices, by these and other Conspirators, have earned them a fight
          ... ... To my last breath! !!




                                                                                                                  Page 12   of   14
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no   S"   fS   @ev. 12116) Complaint for Violation of Civil Rights @{on-Prisoner)




V.             Relief

               State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
               If requesting money damages, include the amounts of any actual  damages and/or punitive damages claimed for
               the acts alleged. Explain the basis for these claims.

           Subpoena for Discovery:
      1) The State of Illinois Judicial Inquirry Board recently concluded their 2-year investigation into the Plaintiff         s
          formal 2015 complaint (Exhibit G) of Associate Judge, Michele Pitnan and other Judges allegrng criminal
               Conspiracy.
      2) AT&T to fumish complete employee personnel file of Plaintiff from 2001 to present;
      3) AT&T to fimish complete call records and notes to the Human Resources Desk Call-Ins and Call- Backs (by-
           whom) pertaining to Plaintiffand ex- wife from 2009 to present
      4)   AT&T to furnish complete call records and notes to the Court Order Unit Desk Call-krs and Call-Backs (by-
           whom) pertaining to Plaintiffand ex- wife from 2009 to present
      5) AT&T to furnish complete call records and notes to Payroll Deparfinent inquiries, Call-Ins and Call-Backs (by-
           whom) pertaining to Plaintiffand ex- wife from 2009 to present
      6) AT&T to furnish complete detail of 'Wage Deduction Fees' accessed Plainti{f s payroll from 2009 to the present
      7) AT&T to furnish complete detail of 'Wage Deductions' accessed PlaintifPs payroll from 2009 to the present
      8) AT&T to furnish complete detail of 'Court Orders' accessed Plaintiff 's payroll from 2009 to the present
       Motion and Lien Requests:
         Mechanic's Lien of AT&T Property at208 S. Akard St. Dallas TX75202
         Lieir to freeze personal assets of Defendants
         Motion to Request Defendants to furnish personal Financial Discovery
         lrnmediate Reinstaternent of lllinois Unemployment Benefits to Plaintiff
         hnmediate financial injection of 4500,000 for home to fight this battle on equal-level playing field

      1. Actual Damages: $510 Million
               A. Stolen lntellectual Properly and resulting Personal Contractual   Liability
               B. Stolen mmtial Assets
               C. Salary & Pension
               D. Defamation of Character Libel & Slander
      2.       Punitive Damages: $65 Million
               Financial Hardship
               Mental & Physical Anguish and Hardship                        ;



               Total Actual and Punitive: $575 Million Dollars




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no   S" tS (Rev. 12116) Comptaiat for Violation of Civil Rights (Noa-Pnsoner)




VL        Certifrcation and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certift to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argume,nt for extending, modifoing, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identifie{ will likely have evidentiary support a.fter a reasonable
          opporhmity for fiirther investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.



          A.          For Parties Without an Attomey

                      I agree to provide the Clerk's Office with any changes to my address where casrrelated papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Date of siming:


                      Signature of Plaintiff
                      Printed Name of Plaintiff               Frank L. Simmons


          B.          For Attorneys

                      Date of sigaing:


                      Signature of Attorney
                      ttinted Name of Attorney
                      BarNumber
                      Name of Law Firm
                      Address


                                                                                Citv         State
                                                                                                      ---zipe;Ae
                      Telephone Number
                                                                                                                     -
                      E-mail Address




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